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                                  UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                               DECLARATION OF GEORGE P. MCCABE

            I, George P. McCabe, hereby declare pursuant to 28 U.S.C. § 1746 that the following

     statements are true and correct to the best of my personal knowledge and belief:

                                                 Introduction

            1.         I am a professor of Statistics at Purdue University, where I have been a faculty

     member since 1970. I am an applied statistician with decades of experience designing studies,

     analyzing data, and interpreting the results of statistical analyses. I have personal knowledge of

     the facts set forth herein and, if necessary, I would and could competently testify thereto if called

     as a witness in this matter. I submit this declaration in support of Plaintiffs’ Motion for Summary

     Judgment.

            2.         From 1970 until 2006, I was the Director of the Statistical Consulting Service at

     Purdue where I advised thousands of university clients on the appropriate use of statistical

     methods. I have coauthored statistics texts that are widely used, with translations in Dutch,

     Chinese, Portuguese, Vietnamese, and Japanese.         I am an elected Fellow of the American

     Statistical Association (ASA) and the American Association for the Advancement of Science
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 (AAAS). I have also served on several Institute of Medicine (IOM) committees and was elected

 Chair of the Statistical Consulting Section of the ASA. I received a B.S. in Mathematics from

 Providence College in 1966 and a Ph.D. in Mathematical Statistics from Columbia University in

 1970. For further information on my background, my curriculum vitae is attached as Appendix 1.

         3.       I have been retained on behalf of Plaintiffs in this case. For my assignment, I was

 asked to analyze a number of related data sources pertaining to copyright infringement notices sent

 to Cox Communications, Inc. (“Cox”) to confirm that all of the works in suit were the subject of

 infringing activity reported in notices sent concerning specific Cox subscribers already cited in at

 least two prior notices.

         4.       I am being compensated in this matter at the rate of $450 per hour for my time. My

 compensation is not contingent on my findings, testimony rendered, or the outcome of this

 litigation. Analysis Group provided support in this matter, at my direction.

                                          Summary of Findings 1

         5.       In connection with my work on this matter, I reviewed a variety of documents, data

 sets, declarations, and testimony. The key data sources I analyzed include those described in

 Appendix 2 attached hereto. The methodology I employed is described in Appendix 3 attached

 hereto. The data sources and methodology are sufficient to reproduce my findings.

         6.       By way of background to my findings, upon receipt of Plaintiffs’ infringement

 notices from MarkMonitor, as well as infringement notices from other rightsholders, Cox’s Abuse

 Tracking System (“CATS”) automatically




 1
  I understand the background facts described in paragraphs 6 from Cox documents and deposition testimony
 provided to me in this case.



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          7.       The data I have reviewed reflect that all of the 7,031 sound recordings and 3,402

 musical compositions in this case were the subject of Plaintiffs’ infringement notices to Cox during

 the claim period concerning specific Cox subscribers already identified to Cox in at least two prior

 infringement notices.

          8.       The data I have reviewed reflect that of the 57,600 2 unique Cox subscribers that

 were the subject of tickets as a result of Plaintiffs’ infringement notices between February 1, 2013

 and November 26, 2014 (inclusive of those beginning and ending dates, the “Claim Period”):

               •                    are residential subscribers and                    are business subscribers.

               •                                      have at least one ticket before the beginning of the
                   Claim Period. 3

               •   At least                                received at least one ticket on behalf of an
                   entity other than the Plaintiffs during the Claim Period.




 2
  Excluded from this analysis are 79 additional Cox subscribers identified from Plaintiffs’ notices for whom Cox did
 not provide corresponding ticket data.
 3
   Cox did not provide ticket data for dates preceding January 1, 2012. As a result, the percentage of Cox subscribers
 who have at least one ticket before the beginning of the Claim period only considers tickets dating back to January
 1, 2012.



                                                           3
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        9.        The data I have reviewed reflect that of the Cox subscribers that were the subject

 of Plaintiffs’ infringement notices during the Claim Period:

              •          Cox subscribers were the subject of 3 or more copyright abuse tickets

              •          Cox subscribers were the subject of 6 or more copyright abuse tickets

              •         Cox subscribers were the subject of 10 or more copyright abuse tickets

              •         Cox subscribers were the subject of 13 or more copyright abuse tickets

              •         Cox subscribers were the subject of 14 or more copyright abuse tickets

                                   Comparison to Cox’s Findings

        10.       Mr. Christian Tregillis prepared reports on behalf of Cox containing opinions on

 the extent to which notices regarding infringement by Cox subscribers pertain to the works in suit.

 His initial report is dated April 10, 2019. His supplemental/rebuttal report is dated May 15, 2019.

 His reply report is dated June 13, 2019. I have reviewed Mr. Tregillis’s work, as described in his

 reports and deposition in this case, related to matching of the works in suit to Plaintiffs’

 infringement notices to Cox.

        11.       Mr. Tregillis and I are in agreement that the Plaintiffs’ notices support the

 overwhelming majority of the works in suit. I was able to match all of the works in suit to

 infringement notices. Mr. Tregillis found a match for over 95% of the works in suit and I

 understand he was continuing his analysis for the rest.

        12.       It appears the reason that Mr. Tregillis failed to find infringement notices

 supporting some works in suit is principally, if not entirely, because he cast aside thousands of

 notices from his analysis. Specifically, he excluded (a) notices from other rights owners; (b)

 notices prior to the claim period; and (c) notices not involving any of the works in suit. He

 excluded those notices even though they pertained to the same subscribers that were the subject of



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                           APPENDIX 1 – CURRICULUM VITAE

                                                                                            03/2019
                                     George Paul McCabe
                                     mccabe@purdue.edu
                                       (765) 494-1729

                                Mathematical Sciences Building
                                   150 N University Street
                                West Lafayette, IN 47907-2067


 Education
 B.S.                  Providence College (Mathematics)                    1966
 Ph.D.                 Columbia University (Mathematical Statistics)       1970

 Accreditation
 ACCREDITED PROFESSIONAL STATISTICIAN™ (PSTAT®) 2011

 Professional Experience
 Assistant Professor of Statistics, Purdue University 1970-1975
 Associate Professor of Statistics, Purdue University 1975-1983
 Professor of Statistics, Purdue University 1983-present
 Director of Statistical Consulting, Purdue University 1970-2004
 Associate Dean for Academic Affairs, College of Science, Purdue University 2004- 2018
 Purdue Representative to the Design and Biostatistics Program, Indiana Clinical and
 Translational Research Institute, Purdue University 2008- present
 Adjunct Professor, Clinical Research Facility, National University of Ireland,
        Galway, Ireland 2009-present

 Visiting and Temporary Positions
 Summer Student Program, Jackson Laboratory, Bar Harbor, Maine, Summer 1964
 Summer Student Program, Worcester Foundation for Experimental Biology, Worcester,
         Massachusetts, Summer 1966
 Programmer, Brookhaven National Laboratory, Upton, New York, Summer 1966
 Programmer, Texas Gulf Sulphur Company, New York, New York, Summer 1967
 Statistician, TRW Aerospace, Redondo Beach, California, Summer 1968
 Visiting Associate Professor of Statistics, Princeton University, 1976-1977
 Visiting Researcher and Consultant, Commonwealth Scientific and Industrial Research
         Organization (CSIRO), Melbourne, Australia, Jan-Feb, 1985
 Visiting Professor of Statistics, University of Berne, Berne, Switzerland, Apr-May, 1985
 Guest Researcher, Statistical Engineering Division of the Computing and Applied
         Mathematics Laboratory, National Institute of Standards and Technology,
         Boulder, Colorado, Jan-June, 1993
 Visitor, Mathematics Department, National University of Ireland – Galway, Galway,
         Ireland, Aug-Dec 2002



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 Professional Activities
 Mentor - Purdue AIM Summer Research Program for Undergraduate Minority Students - 1988
 Statistical Design Consultant, Augmentative and Alternative Communication - 1987-1993
 Associate Editor, Technometrics - 1978-1986
 Associate Editor, Computational Statistics and Data Analysis - 1982-2004
 Chairman, Statistical Education Section Contributed Paper Awards - 1978 Program Chair,
         Statistical Education Section of ASA for 1982 Annual Meeting
 School of Veterinary Medicine Research Advisory Board - 1990- 1994
 Management Committee, Journal of Educational and Behavioral Statistics - 1996-1998,
         Chair, 1999-2000
 External appraiser, Health and Welfare Canada, Health and Social Programs Branch –
         1994-1995
 External Review Committee for the University of Texas at Dallas Mathematical Sciences
         Program - January 1997
 Section on Statistical Consulting, American Statistical Association - Chair-elect 1997,
         Chair 1998
 Committee Member, Institute of Medicine's Committee on International Nutrition –
         September 1996 - June 1997
 External Review Committee for Iowa State University Department of Statistics – October 1998
 Data Monitoring Board for National Health Survey of Gulf War Veterans and their families,
         Phase III - 1998-2001
 External Review Committee for the University of Michigan Center for Statistical
         Consultation and Research (CSCAR) - January 2001
 Workshop on "Malnutrition and the Global Burden of Disease", Johns Hopkins
         University - July 2000
 International Vitamin A Consultative Group (IVACG) XX Meeting, Hanoi, Vietnam
          (participant and results of joint work were presented) - February 2001
 International Nutritional Anemia Consultative Group (INACG) Symposium, Hanoi,
         Vietnam (participant and results of joint work were presented) - February 2001
 Committee Member, Institute of Medicine, Committee on the Use of Dietary Reference
          Intakes in Nutrition Labeling - 2001-2003
 Data Monitoring Board for Veterans Administration Study CSP # 468 "A Comparison
         of Best Medical Therapy and Deep Brain Stimulation of Subthalamic Nucleus and
         Globus Pallidus for the Treatment of Parkinson's Disease" - 2002-2007
 External Review Committee for Statistics at Arizona State University - 2003
 Data Monitoring Board for Veterans Administration Study Ä Randomized, Double-
         Blind, Placebo Controlled Trial of Intravenous Zoledronic Acid to Prevent
         Osteoporosis in Men Undergoing Androgen Deprivation Therapy in the VA
         Population" - 2004-2007
 Member, Deming Lectureship Committee of the American Statistical Association –
         2007-2010
 Review of proposed MS program in statistics at South Dakota State University for the South
         Dakota Board of Regents - 2007
 Committee Member, Institute of Medicine, Committee on Nutrition Standards for
         National School Lunch and Breakfast Programs - 2008-2010



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 Advisory Member, Committee on Student Pro Bono Statistics of the American Statistical
         Association – 2009
 Committee Member, American Statistical Association Business and Economics Section Student
 Travel Award Committee – 2009-2010
 Data Monitoring Board for Veterans Administration Study CSP # 468F "Long term study of
        deep brain stimulation for the treatment of Parkinson’s disease" - 2009-2013
 Regents Review Committee for the Department of Mathematics and Statistics, Utah State
        University, Logan, UT, March 2010
 External resource person for the WHO Nutrition Guidance Expert Advisory Group (NUGAG)
        Monitoring and Evaluation Subgroup Meeting on Guidelines for the Assessment of
        Vitamin A and Iron Status in Populations, PAHO, Panama City, Panama, 15-17
        September 2010

 Professional Societies and Honors
 American Statistical Association, Fellow, 1993
 American Association for the Advancement of Science, Fellow 2009
 Institute of Mathematical Statistics
 American Society for Quality, Senior Member 2006
 Sigma Xi
 New York Academy of Sciences
 Biometric Society
 International Association for Statistical Computing
 Mu Sigma Rho: The National Statistics Honorary Society, President 2011-2013
 ASA San Antonio Chapter 2012 Don Owen Award for Outstanding Contributions to Statistical
 Research, Applications, and Teaching
 Purdue College of Science Graduate Student Mentoring Award, 2016

 Research Interests
 Applied Statistics
 Biostatistics
 Statistical Computing
 Statistics and the Law

 Books
 Moore, David S. and McCabe, George P., Introduction to the Practice of Statistics, W. H.
 Freeman (1989); second edition (1993); third edition (1999); fourth edition (2003), fifth edition
 (2006).
 Moore, David S., McCabe, George P., and Craig, Bruce Introduction to the Practice of Statistics,
 W. H. Freeman, sixth edition (2008), seventh edition (2012), eighth edition (2014), ninth edition
 (2017).
 Moore, David S., McCabe, George P., and Craig, Bruce Exploring the Practice of Statistics, W.
 H. Freeman, (2014).
 Moore, David S., McCabe, George P., Duckworth, William M. and Sclove, Stanley L.,
         The Practice of Business Statistics, W. H. Freeman (2003).
 Moore, David S., McCabe, George P., Duckworth, William M. and Alwan, Layth C., The
         Practice of Business Statistics, W. H. Freeman, second edition (2008).



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 Moore, David S., McCabe, George P., Alwan, Layth C., Craig, Bruce, and Duckworth, William
 M. The Practice of Statistics for Business and Economics, W. H. Freeman, third edition (2011).
 Moore, David S., McCabe, George P., Alwan, Layth C., and Craig, Bruce A. The Practice of
 Statistics for Business and Economics, W. H. Freeman, fourth edition (2016).
 Chinese translation of The Practice of Business Statistics, Haw-Tai Publishing Company
     (2003).
 Japanese translation of The Practice of Business Statistics, Chapters 1-3, The English
 Agency (Japan) Ltd., (2005).
 Prática Da Estatística Empresarial,(2006), Portuguese translation of The Practice of
         Business Statistics.
 Introdução à Prática Da Estatística ,(2002), Portuguese translation of Introduction to the
 Practice of Statistics.
 Statistiek in de Praktijk , Academic Service (1994), Dutch translation of Introduction to
         the Practice of Statistics; translation of the third edition (2001).
 Thuc Hanh Thong Ke, (2010), Vietnamese translation of Introduction to the Practice of
 Statistics.
 Yates, Dan, Moore, David S. and McCabe, George P., The Practice of Statistics, Freeman
         (1999).

  Publications
 1. McCabe, G. P. Some problems in sequential discrimination. (1970) Ph.D. Dissertation,
     Columbia University (Advisor: H. Robbins).
 2. McCabe, G. P. Sequential estimation of a Poisson integer mean. (1972) Annals of
     Mathematical Statistics. 43:803-813.
 3. McCabe, G. P. Estimation of the number of terms in a sum. (1973) Journal of the
     American Statistical Association 68:452-456.
 4. McCabe, G. P. Sequential estimation of a restricted mean parameter of an exponential
     family. (1974). Annals Institute of Statistical Mathematics 26:103-115.
 5. Arvesen, J. N. and McCabe, G. P. A subset selection procedure for regression
     variables. (1974) Journal of Statistical Computation and Simulation 3:137-146.
 6. McCabe, G. P. Review of Introduction to Statistics with Fortran by Allan Kirch. (1974)
     Journal of the American Statistical Association 69:1045.
 7. Salvendy, G. and McCabe, G. P. Marijuana and human performance (1975) Human Factors,
     17:229-35; Marijuana and human productivity (1973) Proceedings of the 17th
     Annual Conference of the Human Factors Society.
 8. Arvesen, J. N. and McCabe, G. P. Subset selection problems for variances with applications
     to regression analysis. (1975) Journal of the American Statistical Association 70:166-170.
 9. McCabe, G. P. Computations for variable selection in discriminant analysis. (1975).
     Technometrics 17:103-109.
 10. Ross, M. A. McCabe, G. P. A stepwise algorithm for selecting regression variables using cost
     criteria. (1975). Proceedings of Computer Science and Statistics: 8th Annual Symposium on
     the Interface, 228-232.
 11. Arvesen, J. N. and McCabe, G. P. Variable selection in regression analysis. (1975)
     Proceedings of the University of Kentucky Conference on Regression with a Large Number of
     Predictor Variables, 136-148.




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 12. Ross, M. A. and McCabe, G. P. A comment on Pohlmann's algorithm for subset selection in
     multiple regression analysis. (1975) Multiple Linear Regression Viewpoints 5:11-15.
 13. Rubin, H. and McCabe, G. P. Estimates of ultimate recoverable oil and gas in the United
     States. (1975). Report prepared for the Federal Energy Administration, included in their
     interim report to Congress.
 14. McCabe, G. P. Review of Numerical Taxonomy: The Principles and Practice of Numerical
     Classification by P. H. A. Sneath and R. P. Sokal. (1975) Journal of the American Statistical
     Association 70:962.
 15. Anderson, V. L. and McCabe, G. P. Sex discrimination in faculty salaries: a method for
     detection and correction. (1976) Proceedings of 1976 Social Statistics Section of the American
     Statistical Association 589-92.
 16. McCabe, G. P. Review of Sequential statistical Procedures by Z. Govindarajulu. (1976)
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     characteristics for machine-paced and self-paced operations. (1979) Proceedings of the
     Human Factors Society - 23rd Annual Meeting – 1979, 153-157.
 26. Salvendy, G., McCabe, G. P., Suominen, S. and Basila, B. Non-work related movements in
     machine-paced and self-paced work. (1979) Proceedings of the Human Factors Society - 23rd
     Annual Meeting – 1979, 149-152.
 27. McCabe, G. P. The interpretation of regression analysis results in sex and race discrimination
     problems (1980) The American Statistician, 34:212-15. (1979) Proceedings of the 1979 Social
     Statistics Section of the American Statistical Association. 27-29.
 28. McCabe, G. P. Use of the 27% rule in experimental design. (1980) Communications in
     Statistics A9: 765-76.
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 31. Young, R. J. and McCabe, G. P. Examining the accuracy of perceived exertion and its relation
     to age, sex and physical condition. (1980) Proceedings of the Gerontological Society Annual
     Scientific Meeting.
 32. Yarber, W. L. and McCabe, G. P. Teacher characteristics and inclusion of sex education
     topics in grades 6-8 and 9-11. (1981) The Journal of School Health 51:288-291.
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     State Conference on Teaching of Statistics and Statistical Consulting. ed. Rustagi, J. S. and
     Wolfe, D. A., Academic Press, 371-374.
 34. Wilson M. D., G. A., McDonald, M.D., C. J. and McCabe, G. P. The effect of immediate
     access to a computerized medical record on physician test ordering: a controlled clinical trial
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     industrial study. (1982) Applied Ergonomics 13(4):293-299.
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 39. McDonald, C. J., Hui, S. L., Smith, D. M., Tierney, W. M., Cohen, S. J., Weinberger, M. and
     McCabe, G. P. Reminders from an introspective medical record: a two-year randomized
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 40. McCabe, G. P. Principal variables. (1984) Technometrics 26:137-144.
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     characteristics and inclusion of topics in instruction. (1984) Health Education 15:36-41.
 43. Lo, Y-K T. and McCabe, G. P. Statistical characterizations of Indiana soil properties. (1984)
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     ed. D. S. Bowles and H-Y Ko, American Society of Civil Engineers.
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     Ergonomics 15(1):21-27. itute
 45. Tierney, W. M., McDonald, C. J. and McCabe, G. P. Serum potassium testing in diuretic-
     treated outpatients: a multivariate approach. (1985) Medical Decision Making 5(1):89-104.
 46. McCabe, G., McCabe, L. and Miller, A. Analysis of taste and chemical composition of
     cheddar cheese 1982-83 experiments. (1985) CSIRO Division of Mathematics and Statistics
     Consulting Report No. VT85/86.
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     Performance 14:221-230.
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     Workshop, Cairo, Egypt.
 51. Hunt, M. O., Triche, M. H., McCabe, G. P. and Hoover, W. L. Tensile properties of yellow-
     poplar veneer strands. (1989) Forest Products Journal 39:31-33.
 52. Barlow, I., Lloyd, G. T., Ramshaw, E. H., Miller, A. J., McCabe, G. P. and McCabe, L.
     Correlations and changes in flavour and chemical parameters of cheddar cheeses during
     maturation. (1989) The Australian Journal of Dairy Technology 44:7-18.
 53. Goonewardene, H. F., Pliego, G., McCabe, G. P., Howard, P. H. and Oliver, P. J. Control of
     arthropods on apple, malus X domestica (borkh.), selections for scab (ascomycetes:
     mycosphaerellacea) and apple maggot (diptera: tephritidae) resistance in an orchard in
     Indiana. (1989) Journal of Economic Entomology, 82(5):1426-1436.
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     Stephen L. Morgan. (1989) Journal of Quality Technology 21:218.
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     Journal of Quality Technology 21:222.
 56. Elliott, G., Rebar, A., McCabe, G. P. and Alzola, C. Optimization of the under agarose assay
     for porcine neutrophil migration. (1990) American Journal of Veterinary Research,
     52(2):245-248.
 57. Goonewardene, H. F., Pliego, G., McCabe, G. P., P. H. Howard, P. H. and Oliver, P. J.
     Control of arthropods on apple selections with scab (ascomycetes: mycosphaerellacea) and
     European red mite (acari: tetrancychidae) resistance. (1990) Journal of Economic
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 58. McCullough, A., Kirksey, A., Wachs, T., McCabe, G., Bassily, N., Bishry, Z., Galal, O.,
     Harrison, G. and Jerome, N. Vitamin B6 status of Egyptian mothers: relation to infant
     behavior and maternal infant interaction, (1990) American Journal of Clinical Nutrition,
     51:1067-1074.
 59. Zimmerman, N., Eberts, C. G., Salvendy, G. and McCabe, G. P. Effects of respirators on
     performance of cognitive, psychomotor and physical tasks. (1991) Ergonomics 34(3):321-
     334.
 60. Franz, E. A., Zelaznik, H. N. and McCabe, G. P. Spatial topological constraints in a bimanual
     task. (1991) Acta Pychologica, 77:137-151.
 61. Kirksey, A., Rahmanifar, A., Wachs, T. D., McCabe, G. P., Bassily, N. S., Bishry, Z., Galal,
     O. M., Harrison, G. G. and Jerome, N. W. Determinants of pregnancy outcome and newborn
     behavior of a semi-rural Egyptian population. (1991) American Journal of Clinical Nutrition
     54:657-667.
 62. Kao, T-C. and McCabe, G. P. Optimal sample allocation for normal discrimination and
     logistic regression under stratified sampling. (1991) Journal of the American Statistical
     Association 86: 432-436.
 63. Samuels, M. L., Casella, G. and McCabe, G. P. Interpreting blocks and random
     factors. (1991) Journal of the American Statistical Association, 86:798-808.
 64. Samuels, M. L., Casella, G. and McCabe, G. P. Rejoinder (to comments on Interpreting
     blocks and random factors). (1992) Journal of the American Statistical Association, 87:594.



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     Industrial Pharmacy 18(4):469-489.
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     grading black walnut veneer. (1992) Wood and Fiber Science 24(1):99-107.
 67. Wachs, T. D., Bishry, Z., Sobhy, A., McCabe, G. P., Galal, O. and Shaheen, F.Relation of
     rearing environment to adaptive behavior of Egyptian toddlers (1993) Child Development
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     G. G. and Jerome, N. W. Diet during lactation associated with infant behavior and caregiver-
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  Statistical Consulting Service Reports 1971 - 2003

  Current Research Funding
  Shekhar (PI) NIH Clinical and Translational Sciences Award. The goal of this application is to
  establish a statewide Institute for enhancing clinical and translational research in Indiana,
  proposed by Indiana University in partnership with Purdue University and several key
  community organizations. Role: Co-Investigator, 07/01/13-06/30/18, 5%.
  Weaver, Connie (PI) Alliance for Potato Research and Education. The effect of potatoes on
  potassium retention, acid base balance, and blood pressure reduction in mildly hypertensive men
  and women. The goal of this research is to assess the effect of potatoes on potassium retention,
  acid base balance, and blood pressure reduction in mildly hypertensive men and women. Role:
  Co-Investigator, 11/1/15-3/31/17, 5% for two months.
  Weaver, Connie (PI) NIH R01 Berries and bones. The goal of this research is to test the
  hypothesis that bioactive polyphenol metabolites from blueberries work through modulation of
  Nrf2 activity to reduce bone loss using mouse, rat, human, and in vitro models of menopause-
  induced and age-related bone loss. Role: Co-Investigator, 09/30/2014 - 08/31/2019, 5% (years 1
  & 5).
  Weaver, Connie (PI) NIH A DASH-Sodium Trial in Adolescents. The goal of this research is to
  investigate the effects of diet (usual versus DASH) and sodium reduction (low versus high) on
  the blood pressure of adolescents in a controlled randomized trial. Role: Co-Investigator,
  08/01/2015 - 07/31/2021, 10%

  Consulting Experience
  Longines Symphonette Society (Capitol Records) - 1970
  American United Life Insurance Company - 1970-72
  Design and Manufacturing Corporation - 1973-74
  Great Lake Chemical Corporation - 1973
  Motorola, Inc. - 1974
  Federal Energy Administration - 1975
  JJJ Statistical Applications, Inc. - 1975-76
  Indiana University Medical School - 1977-1982
  Hobart Corporation - 1977
  National Association of Insurance Commissioners - 1977
  American Hospital Association - 1977
  General Motors (discrimination cases) - 1977-84
  Houghton-Mifflin (discrimination case) - 1979-80
  APCOA and ITT (theft case) - 1978-79
  Valparaiso School District (discrimination case) - 1979
  Boeing (discrimination case) - 1979-80
  Michigan State University (discrimination case) - 1980
  Merchants National Bank (discrimination statistics) - 1980-81
  Oak Ridge National Laboratories - 1980-81
  Ridge Company (damage case) - 1982-84
  Beech Aircraft (discrimination case) - 1982-83
  Food and Drug Administration - 1982-84
  Environmental Protection Agency - 1984, 1986



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  Best Lock Corporation - 1988, 1989
  Boehringer Mannheim Corporation - 1989-91, 1994, 1996
  Ross Gear (TRW) - 1989-90, 1993, 1994, 1996
  GenCorp - 1990
  Cablec Corp, BICC Cables - 1990-91
  US Environmental Protection Agency - 1992
  Deprenyl Animal Health - 1992
  Kraft General Foods - 1992
  Med Institute, Inc - 1993, 1995
  Ameritech Services Inc. (McTurnan and Turner) - 1995-96
  Indiana Bell (Locke, Reynolds, Boyd, and Weisell) - 1995-96
  Eli Lilly - 1996
  Micronutrient Initiative (Canada) - 1996
  Hemocleanse - 1996
  Biocontrol Technology - 1996
  Harry Wilson (cheating issue) - 1996
  Hood Law Firm (Med. Univ. of SC, discrimination case) - 1996
  Stan Lubin (Allied Signal, discrimination case) - 1996
  Schleier Law Offices (Honeywell, discrimination case) - 1996
  Shook, Hardy, Bacon - 1998-1999
  Anthem Insurance Company - 1999
  Cummins Engine Company, Columbus, IN - 1999
  U.S. Department of Justice, Indianapolis, IN - 1999-2000
  International Life Sciences Institute (ILSI) - 1998-2001
  Micronutrient Initiative (Canada) - 1998-2000
  Fifth-Third Bank - 2000
  U.S. Veteran's Administration - 1999-2001
  University of Akron - 2000-2002
  Johns Hopkins University - 2000
  Ice Miller - 2000
  Wurth/Service Inc. - 2000
  Baker Daniels - 2000
  Locke Reynolds LLP - 2001
  Indiana University School of Medicine - 2001
  Klapper Isaac & Parish (Locke Reynolds) - 2001
  Rollins School of Public Health, Emory University - 2001
  Debervoise & Plimpton, Esqs. - 2001
  Hunt Suedhoff Kalamaros, LLP - 2002
  United States Attorney's Office, Northern District of Indiana - 2003-2005
  Emory University - 2004
  Perkins Coie - 2004-2005
  Hoffman Reilly Pozner & Williamson LLP - 2004
  Barnes & Thronburg LLP - 2005-2006
  Ice Miller, LLP - 2006
  Barnes & Thornburg LLP - 2007




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  Kramer Levin Naftalis & Frankel LLP - 2007
  Faruki Ireland & Cox PLL – 2007-2008
  Texas Education Agency – 2008
  Office of the Indiana Attorney General – 2008-2009
  Shook Hardy & Bacon LLP – 2008-2009
  Walgreens -2009
  Ethicon Endo-Surgery – 2009
  Herrick, Feinstein LLP – 2009-2010
  Carpenter Lipps & Leland – 2010-2015
  DLA Piper U.S. LLP – 2010
  Baker & Daniels LLP – 2010
  Litchfield Cavo, LLP – 2011
  Cherry Tree BSC – 2015
  Hogan Lovells US LLP – 2013
  Kramer Levin Naftalis & Frankel LLP – 2013
  Litchfield Cavo LLP – 2013 - 2015
  Campbell Soup Company – 2014 – 2015
  Oppenheim + Zebrak, LLP – 2015
  Litchfield Cavo LLP – 2016 – 2017
  Decatur County Memorial Hospital – 2017
  Barnes & Thornburg – 2017 – 2018
  Kindred Rehabilitation Services – 2018
  Oppenheim + Zebrak, LLP – 2019

  Short Courses
  BMDP Seminar (with J.N. Arvesen) - 1976 - New York, N.Y.
  Multivariate Analysis for Forestry Problems - 1980 - U.S. Forest Service, Carbondale, IL
  Equal Employment Opportunity Litigation Seminar sponsored by Equal Employment
  Commission, Indiana University School of Law, Indiana Continuing Legal Education Forum &
  Indiana State Bar Assoc. - 1982 - Indianapolis, IN.
  Mexican National Institute of Public Health (INSP) Summer Program on Public Health and
  Epidemiology, Introduction to Meta Analysis, August 16-20, 2010, course for graduate students
  in nutrition from Latin America, Cuernavaca, Mexico.
  Introductory Course on Biostatistics, June 18-22, 2012, HRB Clinical Research Facility,
  National University of Ireland Galway.
  Introductory Course on Biostatistics, June 4-7, 2013, HRB Clinical Research Facility, National
  University of Ireland Galway.

  Talks and Addresses
  October 2015 – The power of calcium, joint presentation with Connie Weaver at Purdue
  President Mitch Daniels Faculty Colloquia at Westwood
  August 2014 – The impact of computing on the transition from consulting to collaboration: a
  historical perspective, Joint Statistical Meetings, Boston, MA.
  October 2011 - Assessment of the effectiveness of treatments designed to reduce bone loss:
  design and analysis issues, New Horizons in GI and Liver Cancers Lecture Series, MD Anderson
  Cancer Center, Houston, Texas.



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  May 2011 – Analysis of data from 41Ca experiments to assess the effectiveness of treatments
  designed to reduce bone loss, 31st Conference on Applied Statistics in Ireland, Galway, Ireland.
  September 2010 - The effect of sub-clinical infection on serium ferritin and serum retinol: two
  meta-analyses, WHO Nutrition Guidance Expert Advisory Group (NUGAG) Monitoring and
  Evaluation Subgroup Meeting on Guidelines for the Assessment of Vitamin A and Iron Status in
  Populations, PAHO, Panama City, Panama.
  August 2008 - Ethics and the Introductory Statistics Course, Joint Statistical Meetings, Denver,
  Colorado.
  July 2007 - The future of pro-bono statistics, discussion, Joint Statistical Meetings, Salt Lake
  City, Utah.
  July 2007 - The ethical use of statistics in research, Joint Statistical Meetings, Salt Lake City,
  Utah.
  October 2007 - Meta analysis, Food & Nutrition Conference & Expo, American Dietetic
  Association, Philadelphia, Pennsylvania.
  May 2005 - Montgomery Lecture Series Scholar, The Culver Academies, Culver, Indiana.
  August 2004 - Statistical Consulting within the University, Joint Statistical Meetings, Toronto,
  Canada.
  April 2004 - Panel Discussion of the IOM report on the Use of Dietary Reference Intakes in
  Nutrition Labeling, Washington DC.
  February 2004 - Analysis of 41Ca data, Conference on 41-Calcium in bone research, Zurich,
  Switzerland.
  December 2002 - Uses and abuses of statistics in litigation in the US, National University of
  Ireland, Limerick.
  November 2002 - Uses and abuses of statistics in litigation in the US, Trinity College, Dublin.
  October 2002 - Uses and abuses of statistics in litigation in the US, National University of
  Ireland, Galway.
  October 2002 - Workshop on Meta Analysis: Statistical Methods for Combining Data from
  Different Studies, National University of Ireland, Galway.
  March 2001 - Some statistical problems related to vitamin A deficiency and anemia in
  developing countries, Celebration of the Creation of the Department of Statistics, Western
  Michigan University, Kalamazoo, MI.
  November 2000 - Vitamin A and morbidity of young children, 17th Annual Ohio Statistics
  Conference, The University of Akron, Akron, OH.
  March 1999 - The home court advantage in Big 10 basketball, Arizona State University Statistics
  Week, Tempe, AZ.
  November 1998 - Examples of consulting success, 13th Annual Mathematical Sciences
  Department Chairs Colloquium, Washington, DC.
  June 1998 - Models for relating calcium intake and retention with varying numbers of
  observations per subject, Nutrition and Statistics Workshop, Purdue University, West Lafayette,
  IN.
  March 1997 - Discussant for session on statistical consulting in the University, Joint Biometric
  Society (ENAR), IMS and ASA Meetings, Memphis, TN.
  October 1996 - Statistical consulting: soft and hard skills, 1996 Lilly Global Statistics
  Conference, Indianapolis, IN
  August 1996 - Logistic regression: an introduction. Consultants Forum, Joint Statistical
  Meetings, Chicago, IL.



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  January 1996 - Assessing the use of technology in mathematics education: statistical issues, Joint
  Winter Meetings of the American Mathematical Society and the Mathematical Association of
  America, Orlando, FL.
  October 1995 - Vitamin A and young child mortality, Chicago Chapter of the American
  Statistical Association, Chicago, IL.
  March 1995 - A statistical analysis of the relationship between Vitamin A and young children
  mortality, University of Colorado at Denver, Denver, CO.
  June 1995 - Residuals can appear to be more normal than normals, Multiple Decision Theory and
  related topics; A conference in honor of Shanti S. Gupta, Purdue University.
  May 1995 - The home court advantage in Big 10 basketball, Colorado-Wyoming Chapter of the
  American Statistical Association, Boulder, CO.
  May 1995 - Vitamin A and young child mortality, Colorado State University, Fort Collins, CO.
  August 1995 - Power as a function of reliability (with Marcey L. Abate), Joint Statistical
  Meetings, Orlando, FL.
  December 1993 - Vitamin A and young child mortality, Biostatistics Department, Indiana
  University School of Medicine, Indianapolis, IN.
  August 1993 - The home court advantage in Big 10 basketball, Joint Statistical Meetings, San
  Francisco, CA.
  May 1993 - Empirical Bayes and meta analysis: a case study, First Multinational Conference on
  Bayesian Econometrics and Statistics, Basel to Amsterdam.
  January 1993 - A statistical analysis of the relationship between vitamin A and young child
  mortality, Purdue University, W. Lafayette, IN.
  June 1992 - Selection of factors and levels in the design of experiments, First Great Lakes
  Symposium on Experimental Design: Industrial and Clinical, Kalamazoo, MI.
  December 1991 - The home court advantage in Big Ten basketball, Calvin College, Grand
  Rapids, MI.
  February 1991 - Design of experiments: principles and a case study, Lafayette Section of the
  American Society for Quality Control.
  April 1990 - Are blocks different from random factors?, Michigan State University, East
  Lansing, MI.
  April 1990 - Design and analysis of complex experimental designs: a case study, MidMichigan
  Chapter of the American Statistical Association.
  October 1989 - Interpretation of the analysis of complex experimental designs: a case study.
  American Mathematics Society Special Session on Probability and Statistics, Ball State
  University, Muncie, IN.
  March 1989 - Statistical Consulting at Purdue, Indiana University, Bloomington, IN.
  January 1989 - Assessing salary equity with regression analysis, 1989 American Statistical
  Association Winter Conference, San Diego, CA.
  December 1988 - Selection of variables for multivariate quality control, Indianapolis Section of
  the American Society for Quality Control, Indianapolis, IN.
  March 1988 - Analysis of the Egypt CRSP data, Nutrition Institute, Cairo, Egypt.
  November 1986 - The art of designing experiments, Conference in Honor of the Retirement of
  Professor Virgil L. Anderson, Purdue University, W. Lafayette, IN.
  August 1986 - Uses of principal variables, American Statistical Association Annual Meetings,
  Chicago, IL.




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  April 1986 - Probability and Statistics, Reliability-Based Wood Design Symposium, Purdue
  University, W. Lafayette, IN.
  May 1985 - Analysis of a large messy data set: a case study, University of Tromso, Tromso,
  Norway.
  May 1985 - Principal variables, University of Umea, Umea, Sweden.
  May 1985 - Variable selection methods in statistics, University of Umea, Umea, Sweden.
  May 1985 - Principal variables, CIBA/GEIGY, Basel, Switzerland.
  April 1985 - Analysis of a large messy data set: a case study, University of Berne, Berne,
  Switzerland.
  April 1985 - Principal variables, University of Berne, Berne, Switzerland.
  April 1985 - Principal variables, National University of Singapore, Singapore.
  March 1985 - Statistical procedures for Production Compliance Audits, Statistical society of
  Australia, Western Australia Branch, Nedlands, WA, Australia.
  March 1985 - Variable selection methods in statistics, University of Western Australia,
  Nedlands, WA, Australia.
  March 1985 - Principal Variables, University of Melbourne, Melbourne, VIC, Australia.
  March 1985 - Principal variables, University of Wollongong, Wollongong, NSW, Australia.
  March 1985 - Principal variables, University of Queensland, St.Lucia, QLD, Australia.
  February 1985 - Analysis of a large messy data set: a case study, CSIRO and Monash University,
  Clayton, VIC, Australia.
  August 1983 - Principal variables, University College, Cork, Ireland.
  October 1982 - Analysis of a medical data set, Cincinnati ASA Chapter, Cincinnati, OH.
  August 1982 - Principal variables: alternatives to principal components, Joint Statistical
  Meetings, Cincinnati, OH.
  February 1982 - Principal variables: alternatives to principal components, ASA Chapter Meeting,
  Kalamazoo, MI.
  February 1982 - Analysis of a medical experiment, University of Western Michigan, Kalamazoo,
  MI.
  November 1981 - Principal variables: alternatives to principal components, Ohio State
  University, Columbus, Ohio.
  November 1981 - Statistical analysis of a medical experiment, Cornell University.
  November 1981 - Principal variables: alternatives to principal components, Cornell University,
  Ithaca, NY.
  October 1981 - Statistical analysis of a complex data set, UWA.
  October 1981 - Statistical consulting, Western Australian Institute of Technology, Perth, Western
  Australia.
  October 1981 - Alternatives to principal components: single population variable selection, UWA.
  October 1981 - Statistics in the courtroom: uses of statistics in legal settings, University of
  Western Australia, Perth, Western Australia.
  November 1981 - Principal variables: alternatives to principal components, Cornell University,
  Ithaca, NY.
  November 1980 - The role of statistical consulting in graduate training, Conference on Teaching
  of Statistics and Statistical Consulting - Ohio State University.
  October 1980 - The 27% rule, Michigan State University, East Lansing, MI.
  October 1979 - The 27% rule and experimental design, Purdue University, West Lafayette,
  Indiana.



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  August 1979 - The interpretation of regression analysis results in sex and race discrimination
  problems, Joint Statistical Meetings, Washington, D.C.
  August 1978 - Variable selection in discriminant analysis with unequal covariance
  matrices. COMPSTAT - the Third Symposium on Computational Statistics, Leiden, The
  Netherlands.
  August 1978 - Use of the 27% rule in experimental design. Joint Statistical Meetings, San Diego,
  California.
  April 1978 - "Statistical Testimony in Title VII Class Action Suits", General Motors Conference
  on Statistical Defense of Title VII Class Action Suits, Detroit, Michigan.
  March 1978 - "Use of the twenty-seven percent rule in experiment design", McGill University,
  Montreal, Quebec.
  February 1978 - "Uses of statistics in discrimination problems," Manchester College, North
  Manchester, Indiana.
  February 1978 - "The twenty-seven percent rule," University of Wisconsin, Madison, Wisconsin.
  August 1977 - "Evaluation of regression coefficient estimates using alpha-acceptability," Joint
  Statistical Meetings, Chicago, Illinois.
  May 1977 - "A framework for evaluating alternatives to least squares regression coefficient
  estimates," Pennsylvania State University, State College, Pennsylvania.
  April 1977 - "Acceptance levels for regression estimates," University of Delaware, Newark,
  Delaware.
  November 1976 - "Evaluation of Regression Coefficient Estimates," Columbia University, New
  York, New York.
  October 1976 - "Confidence procedures in regression analysis," Princeton University, Princeton,
  New Jersey.
  September 1976 - "A confidence set approach to variable selection problems in regression
  analysis," Rutgers University, New Brunswick, New Jersey.
  August 1976 - "Sex discrimination in faculty salaries: a method for detection and correction,"
  American Statistical Association Meetings, Boston, Massachusetts.
  July 1975 - "Selecting variables for regression analysis," Bell Telephone Laboratories, Holmdel,
  New Jersey.
  April 1975 - "Some problems in the selection of variables in regression analysis," University of
  Wisconsin.
  March 1975 - "Discrete bivariate data with censoring of one variate: tests for randomness with
  application to dendritic trees," invited address, Central Regional Meeting, Institute of
  Mathematical Statistics, St. Paul, Minnesota.
  February 1975 - "Selection of regression variables: methods using cost criteria," invited address,
  Eighth Symposium on Computer Science and Statistics, Los Angeles, California.
  February 1975 - "Some problems in selecting variables for regression analysis," Purdue
  University.
  December 1973 - "Subset selection of regression variables using cost criteria," Joint Statistical
  Meetings, New York, New York.
  August 1972 - "Estimation of the number of terms in a sum," Joint Statistical Meetings,
  Montreal, Canada.
  October 1971 - "Estimation of the number of terms in a sum," Purdue University.
  August 1971 - "Estimating the number of terms in a sum," Clemson University Symposium on
  Cluster Analysis and Pattern Recognition, Clemson, South Carolina.



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  March 1971 - "Reliability of computer programs used in regression analysis," invited address,
  Central Indiana Chapter, American Statistical Association, Indiana University Medical Center,
  Indianapolis, Indiana.
  August 1970 - "Estimation of a Poisson integer mean," Meeting of the Institute of Mathematical
  Statistics, Laramie, Wyoming.
  May 1970 - "Some problems in sequential discrimination," Columbia University, New York,
  New York.
  February 1970 - "Estimation of integer means for exponential families," Purdue University, West
  Lafayette, Indiana.




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                              APPENDIX 2 – DATA SOURCES

  Notice Data (Plaintiffs_00286430)

        File Name:

        Description:
                                                                            (These data were also
                       produced in an Excel file as Plaintiffs_00286280).

        Variables:




  Subscriber ID Data (COX_SONY_00515540)

        File Name:

        Description:
                                                                                    and December
                       1, 2014.

        Variables:


  Audible Magic Data (Plaintiffs_00286431)

        File Name:

        Description:

                                                                                            (These
                       data were also produced in an Excel file as Plaintiffs_00286281, but without
                       the metadata included in Plaintiffs’00286431.)

        Variables:



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  Download Data (Plaintiffs_00286432)

        File Name:

        Description:


        Variables:




  Ticket Action Data (COX_SONY_00515539)

        File Name:

        Description:




        Variables:




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  Sound Recordings List (Plaintiffs_00288954)

        File Name:     Exhibit A (2d Amendment).xlsx

        Description:   An Excel worksheet with 7057 records for sound recordings Plaintiffs
                       allege were infringed during the claim period by repeat copyright infringers.

        Variables:     (Not Labeled) ID
                       Artist
                       Track
                       Plaintiff
                       Reg. No.

  Compositions List (Plaintiffs_00288953)

        File Name:     Exhibit B (2d Amendment).xlsx

        Description:   An Excel worksheet with 3421 records for compositions Plaintiffs allege
                       were infringed during the claim period by repeat copyright infringers.

        Variables:     (Not Labeled) ID
                       Track
                       Reg No.
                       Plaintiff

  Cox Billing Data (COX_SONY_00973764 - COX_SONY_00973767)

        File Name:




        Description:



        Variables:




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                                          APPENDIX 3 - METHODOLOGY

         1. I conducted my analysis using SAS, a software suite for advanced analytics and data
            management. Broadly speaking, I used SAS to integrate, subset, and analyze the various
            data sources. Below, I present an outline of the steps I took in my analysis.

                              Linking Cox Subscriber IDs to Plaintiffs’ Notice Data

         2. To support Plaintiffs’ claim that Cox’s subscribers infringed each of the Works in Suit after
            Plaintiffs sent at least two notices, it is necessary to know which records in the Notice Data 4
            apply to which subscribers. Because Cox provided Subscriber ID Data corresponding to
            Plaintiffs’ notices, the first step of my analysis was to link these two data sources.

         3.



         4.




         5.




         6.




         7.




  4
      For clarity, data sets are underlined, and variables italicized.
  5
   The field included is the email subject line for the notices sent by Plaintiffs. All of the email subject lines start
  with “Copyright Infringement - Notice ID #” followed by Plaintiffs’ Notice ID number.



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     8.




     9.




     10.




     11.




     12.




     13.




     14.


     15.




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     16.




     17.




     18.




     19.



     20.




     21.


     22.




     23.




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           a.



           b.




     24.

     25.




     26.




     27.




     28.




     29.




     30.




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